            19-13106-jlg                Doc 2          Filed 09/27/19               Entered 09/27/19 18:09:27                Main Document
                                                                                   Pg 1 of 47




 Fill in this information to identify the case:

 Debtor name         Starworks, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 o   Check if this is an
                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                            12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        n         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

        n         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        n         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        n         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        n         Schedule H: Codebtors (Official Form 206H)

        n         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        o         Amended Schedule
        o         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        o         Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 27, 2019                      X /s/ James Grant
                                                                       Signature of individual signing on behalf of debtor

                                                                       James Grant
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
             19-13106-jlg                       Doc 2              Filed 09/27/19                        Entered 09/27/19 18:09:27                                           Main Document
                                                                                                        Pg 2 of 47
 Fill in this information to identify the case:

 Debtor name            Starworks, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                   o   Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           112,173.23

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           112,173.23


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,053,753.45


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            19,149.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        8,787,522.29


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         11,860,424.74




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
              19-13106-jlg              Doc 2          Filed 09/27/19         Entered 09/27/19 18:09:27                  Main Document
                                                                             Pg 3 of 47
 Fill in this information to identify the case:

 Debtor name          Starworks, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 o      Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      o No.   Go to Part 2.
      n Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Wells Fargo                                            Checking                         6768                                             $0.00



 4.         Other cash equivalents (Identify all)


            4.1.     Petty cash box consist of $61.36, 322.10 Euros, and 104.47 GB.                                                             Undetermined




 5.         Total of Part 1.                                                                                                                           $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      o No.   Go to Part 3.
      n Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     5 Crosby Street Inc. - security deposit                                                                                          $2,779.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              19-13106-jlg              Doc 2          Filed 09/27/19         Entered 09/27/19 18:09:27                   Main Document
                                                                             Pg 4 of 47
 Debtor            Starworks, LLC                                                              Case number (If known)
                   Name


                     Syndicate 2623/623 at Hoyd's & AFB Media Tech & Professional Liability for the period
            8.1.     3/19/2019-3/19/2020                                                                                                     $6,374.59




 9.         Total of Part 2.                                                                                                             $9,153.59
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      o No.   Go to Part 4.
      n Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           362,961.08   -                        271,503.77 = ....                    $91,457.31
                                              face amount                        doubtful or uncollectible accounts




            11b. Over 90 days old:                              601,245.58   -                       590,309.28 =....                      $10,936.30
                                              face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                          $102,393.61
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

      o No.   Go to Part 5.
      n Yes Fill in the information below.
                                                                                                        Valuation method used    Current value of
                                                                                                        for current value        debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership
                      Starworks London, Ltd. (pending insolvency
            15.1.     proceeding)                                                   100         %                                      Undetermined




            15.2.     Starworks Artist, LLC                                         70          %       Expert                         Undetermined



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:


 17.        Total of Part 4.                                                                                                                  $0.00
            Add lines 14 through 16. Copy the total to line 83.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19         Entered 09/27/19 18:09:27                Main Document
                                                                             Pg 5 of 47
 Debtor         Starworks, LLC                                                                Case number (If known)
                Name



    n No.    Go to Part 6.
    o Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    n No.    Go to Part 7.
    o Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    o No.    Go to Part 8.
    n Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           See attached schedule                                                            $0.00                                               $0.00


           See attached schedule                                                   Undetermined                                     Undetermined



 40.       Office fixtures
           See attached schedule                                                   Undetermined                                     Undetermined



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           See attached schedule                                                   Undetermined                                     Undetermined



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles


 43.       Total of Part 7.                                                                                                                    $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
           n No
           o Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           n No
           o Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    n No.    Go to Part 9.
    o Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19          Entered 09/27/19 18:09:27               Main Document
                                                                              Pg 6 of 47
 Debtor         Starworks, LLC                                                                Case number (If known)
                Name

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    o No.    Go to Part 10.
    n Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. LA office at 4525
                     Wilshire Blvd., Los
                     Angeles, CA. Lease
                     is from 9/1/2018 to
                     8/31/2026 with option
                     to extend for 7 years.               Lease                    Undetermined                                       Undetermined




 56.        Total of Part 9.                                                                                                                   $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
            n No
            o Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            n No
            o Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    o No.    Go to Part 11.
    n Yes Fill in the information below.
            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademark on "Starworks"                                               Undetermined                                       Undetermined



 61.        Internet domain names and websites
            www.starworksgroup.com;
            www.swa-agency.com                                                     Undetermined                                       Undetermined



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer lists; press lists.                                           Undetermined                                       Undetermined


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19         Entered 09/27/19 18:09:27               Main Document
                                                                             Pg 7 of 47
 Debtor         Starworks, LLC                                                               Case number (If known)
                Name




 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            n No
            o Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            n No
            o Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            n No
            o Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    o No.    Go to Part 12.
    n Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Insurance claim with Continental Casualty Co. (Claim
            OLA 4333)                                                                                                              Undetermined
            Nature of claim        Employee Dishonesty Policy
            Amount requested                     $205,000.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            Inthesomeday LLC v. Starworks, LLC, No. 651009/2019
            (NY Supr Ct. 2019)                                                                                                     Undetermined
            Nature of claim       Counterclaims: Tortious
                                  interference, conversion,
                                  unjush enrichment, replevin
            Amount requested                     $675,000.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19         Entered 09/27/19 18:09:27               Main Document
                                                                             Pg 8 of 47
 Debtor         Starworks, LLC                                                               Case number (If known)
                Name

           country club membership

           Soho House Membership (quarterly)                                                                                            $626.03




 78.       Total of Part 11.                                                                                                          $626.03
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
           n No
           o Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
             19-13106-jlg                  Doc 2            Filed 09/27/19                   Entered 09/27/19 18:09:27                         Main Document
                                                                                            Pg 9 of 47
 Debtor          Starworks, LLC                                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $9,153.59

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $102,393.61

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                       $626.03

 91. Total. Add lines 80 through 90 for each column                                                            $112,173.23           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $112,173.23




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                               19-13106-jlg         Doc 2      Filed 09/27/19              Entered 09/27/19 18:09:27                   Main Document
                                                                                          Pg 10 of 47

Schedule A/B ‐ Part 7; Question 38, 39, 40, and 41



Description                                                            Cost               Depreciation     Net Book Value       Valuation Method   Current Value of Debtor's Interest

 Furniture
 Kitchen Table IKEA3/16/2018                                            $      226.46      $      41.24     $        185.22 Cost
Fully, Inc. ‐ Standing Office Desk 10/31/2018                           $      455.00      $      47.70     $        407.30 Cost
 Poppin Inc. ‐ Conference Table11/13/2018                               $    1,739.82      $     172.17     $      1,567.65 Cost
 Amazon 4 Desk Chairs LA Office 3/22/2019                               $      416.04      $      21.67     $        394.37 Cost
 West Elm 4 Desks for LA office 4/29/2019                               $    1,156.32      $      48.18     $      1,108.14 Cost
11 Single White Desks                                                  unknown            unknown          unknown
 5: 2‐Drawer Cabinets                                                  unknown            unknown          unknown
 One 25 by 6 feet module table‐ Vitra                                  unknown            unknown          unknown
 4 White Short Cabinets‐ 31 x 39 x 16 inches                           unknown            unknown          unknown
 7 Clear Acrylic Chairs                                                unknown            unknown          unknown
 21 Office Chairs‐ assorted                                            unknown            unknown          unknown
 3 Section Glass Conference Table                                      unknown            unknown          unknown
 5 Trash Cans‐ Simply Human                                            unknown            unknown          unknown
 14 Small Desk Trash Cans                                              unknown            unknown          unknown
 5 Bookcases‐ 6 Ft                                                     unknown            unknown          unknown
 4 White plastic chairs                                                unknown            unknown          unknown
 1 Receptionist table                                                  unknown            unknown          unknown
 4 white high stools                                                   unknown            unknown          unknown
                                                                        $    3,993.64      $     330.96     $      3,662.68

Fixtures
Glass Door CEO Oﬃce2/24/2017                                           $       6,097.00   $     1,531.51   $        4,565.49    Cost
Aspen Kincaid ‐ Dividing / Living Wall8/22/2018                        $       6,775.00   $       701.18   $        6,073.82    Cost
Atlan s Glass ‐ Installa on of Glass Door for Conf Room 10/26/201810   $       2,680.00   $       226.94   $        2,453.06    Cost
SSC ‐ Deposit for IT Build Out in LA Oﬃce10/31/2018                    $      15,000.00   $     1,250.00   $       13,750.00    Cost
First Impulse ‐ IT Build Out in LA Oﬃce 12/20/2018                     $      33,146.60   $     2,209.77   $       30,936.83    Cost
Stanley Security LA Office Instrusion System January 2019              $      14,980.00   $       873.83   $       14,106.17    Cost
                                                                       $      78,678.60   $     6,793.23   $       71,885.37

Equipment
 Aerohive AP 330 Internet Router3/31/2013                              $       1,342.97   $     1,231.06   $           111.91   Cost
 Wireless Access Points for new LA Oﬃce11/28/2018                      $       2,566.90   $       275.03   $         2,291.87   Cost
 Apple Ipad for LA office 1/9/2019                                     $       1,098.91   $       213.68   $           885.23   Cost
 Macbook Air 5/20/2019                                                 $       1,087.66   $        90.64   $           997.02   Cost
1 Flat Screen TV (CEO Office) 2/14/2017                                $       1,306.49   $     1,106.89   $           199.60   Cost
 Dishwasher Home Depot2/9/2018                                         $         913.05   $       180.71   $           732.34   Cost
                              19-13106-jlg          Doc 2      Filed 09/27/19       Entered 09/27/19 18:09:27               Main Document
                                                                                   Pg 11 of 47

Best Buy ‐ Dishwasher for LA Oﬃce11/15/2018                        $      837.66    $       82.89    $        754.77 Cost
Assorted Kitchen Cutlery and Glassware                            unknown          unknown          unknown
Assorted Office Supplies                                          unknown          unknown          unknown
1 HP Officejet Pro 8710 Printer                                   unknown          unknown          unknown
1 Paper Shredder (FELLOWES 99CI)                                  unknown          unknown          unknown
10 iMac desktops that are over 7 years old or are inoperable      unknown          unknown          unknown
6 iMac desktops that are between 4 to 7 years old                 unknown          unknown          unknown
2 Flat Screen TVs                                                 unknown          unknown          unknown
2 Windows desktops that are over 5 yers old                       unknown          unknown          unknown
1 Macbook pro (2016)                                              unknown          unknown          unknown
1 Microwave oven                                                  unknown          unknown          unknown
                                                                   $    9,153.64    $    3,180.90    $      5,972.74

Equipment Leased
Xerox Copier (Model XC550) SN XPN399472 – NY Office
Xerox Copier (Model 7556) – NY Office
Xerox Copier (Model 7545) – LA Office
Windows Server 20123L -- Smart Star DS4600 – NY Office
Pitney Bowes Small Office Series Postage Printer
SkyWater Ice Water / Water Cooler
             19-13106-jlg                    Doc 2     Filed 09/27/19              Entered 09/27/19 18:09:27                  Main Document
                                                                                  Pg 12 of 47
 Fill in this information to identify the case:

 Debtor name          Starworks, LLC

 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                       o     Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       o No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       n Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Chrome Capital LLC                            Describe debtor's property that is subject to a lien                  $63,154.00           Undetermined
        Creditor's Name                               All accounts, chattel paper, documents,
        Attn: Pres. or Gen Counsel                    equipment, general intangibles, instruments,
        720 Goodlette-Frank Rd.                       and inventory, now or hereafter owned or
        #400                                          acquired by Debtor.
        Naples, FL 34102
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      n No
        Creditor's email address, if known            o Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        o No
                                                      n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        n No                                          n Contingent
        o Yes. Specify each creditor,                 n Unliquidated
        including this creditor and its relative
        priority.                                     n Disputed


        Chrome Capital LLC
 2.2                                                  Describe debtor's property that is subject to a lien                  $61,030.76           Undetermined
        (Bridge)
        Creditor's Name                               Accounts, chattel paper, documents,
                                                      equipment, general intangibles, instruments,
                                                      and inventory, now or hereafter owned or
        Attn: Pres. or Gen Counsel                    acquired by Debtor, all proceeds, funds at
        720 Goodlette-Frank Rd.                       any time in the Debtor's account, and any
        #400                                          amount which may be due.
        Naples, FL 34102
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      n No
        Creditor's email address, if known            o Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        o No
        6/6/2019                                      n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            19-13106-jlg                    Doc 2      Filed 09/27/19              Entered 09/27/19 18:09:27                     Main Document
                                                                                  Pg 13 of 47
 Debtor       Starworks, LLC                                                                           Case number (if know)
              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       n No                                           n Contingent
       o Yes. Specify each creditor,                  n Unliquidated
       including this creditor and its relative
       priority.                                      n Disputed

 2.3   Fox Capital Group, Inc.                        Describe debtor's property that is subject to a lien                     $100,740.00   Undetermined
       Creditor's Name                                All accounts, chattel paper, documents,
                                                      equipment, general intangibles, instruments,
                                                      and inventory, now or hereafter owned or
       Attn: President or Gen                         acquired by Debtor, all proceeds, all funds,
       Counsel                                        present and future electronic chck
       1125 N. Fairfax Ave, #46309                    transactions, and any amount which
       Los Angeles, CA 90046
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                      n No
       Creditor's email address, if known             o Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         o No
       5/3/2019                                       n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       n No                                           n Contingent
       o Yes. Specify each creditor,                  n Unliquidated
       including this creditor and its relative
       priority.                                      n Disputed

 2.4   Knight Capital Funding                         Describe debtor's property that is subject to a lien                     $105,284.03            $0.00
       Creditor's Name                                Continuing security interest in and to all
                                                      present and future accounts receivable,
                                                      chattel paper, deposit accounts, personal
                                                      property, assets and fixtures, general
       9 E. Loockerman Street,                        intagibles, instrument, equipment, inventory
       Suite 202-543                                  wherever located, and proceeds
       Dover, DE 19901
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                      n No
       Creditor's email address, if known             o Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         o No
       4/10/2019                                      n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       n No                                           n Contingent
       o Yes. Specify each creditor,                  n Unliquidated
       including this creditor and its relative
       priority.                                      n Disputed

 2.5   Next Wave Enterprises                          Describe debtor's property that is subject to a lien                     $180,714.24   Undetermined
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            19-13106-jlg                    Doc 2      Filed 09/27/19              Entered 09/27/19 18:09:27                     Main Document
                                                                                  Pg 14 of 47
 Debtor       Starworks, LLC                                                                           Case number (if know)
              Name

       Creditor's Name                                Specified percentage of future receivables
       5757 Blue Lagoon Drive,                        and all personal property that relates to the
       Suite 170                                      specified percentage of future receivables
       Miami, FL 33126
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                      n No
       Creditor's email address, if known             o Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         o No
       1/22/2019                                      n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       n No                                           n Contingent
       o Yes. Specify each creditor,                  n Unliquidated
       including this creditor and its relative
       priority.                                      n Disputed

 2.6   Union Funding Source, Inc.                     Describe debtor's property that is subject to a lien                     $211,237.50   Undetermined
       Creditor's Name                                Future receipts
       Attn: President or Gen
       Counsel
       780 Long Beach Blvd.
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                      n No
       Creditor's email address, if known             o Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         o No
       3/29/2019                                      n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       n No                                           n Contingent
       o Yes. Specify each creditor,                  n Unliquidated
       including this creditor and its relative
       priority.                                      n Disputed

 2.7   Vice Holding, Inc.                             Describe debtor's property that is subject to a lien                $2,116,912.92      Undetermined
       Creditor's Name                                All assets of the Debtor whether now owned
                                                      or hereafter arising from wherever located
                                                      and all proceeds thereof pursuant to an
       Attn: Lucinda Treat                            Amended and Restated Term Note (Bridge
       49 South 2nd Street                            Loan)
       Brooklyn, NY 11211
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                      o No
       Creditor's email address, if known             n Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         o No
       8/31/2015                                      n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
             19-13106-jlg                    Doc 2     Filed 09/27/19              Entered 09/27/19 18:09:27                      Main Document
                                                                                  Pg 15 of 47
 Debtor       Starworks, LLC                                                                           Case number (if know)
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        n No                                          o Contingent
        o Yes. Specify each creditor,                 n Unliquidated
        including this creditor and its relative      o Disputed
        priority.



        West Coast Business
 2.8                                                  Describe debtor's property that is subject to a lien                     $214,680.00      Undetermined
        Capital LL
        Creditor's Name                               All accounts and all proceeds
        Attn: President or Gen
        Counsel
        116 Nassau St, Suite 804
        New York, NY 10038
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      n No
        Creditor's email address, if known            o Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        o No
        4/9/2019                                      n Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        n No                                          n Contingent
        o Yes. Specify each creditor,                 n Unliquidated
        including this creditor and its relative
        priority.                                     n Disputed


                                                                                                                               $3,053,753.4
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         5

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
             19-13106-jlg               Doc 2          Filed 09/27/19                 Entered 09/27/19 18:09:27                              Main Document
                                                                                     Pg 16 of 47
 Fill in this information to identify the case:

 Debtor name         Starworks, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                         o   Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          o No. Go to Part 2.
          n Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $19,149.00          Unknown
           NYC Dept of Finance (LLC Tax)                             Check all that apply.
           PO BOX 3923                                               o Contingent
           Attn: Pres or Gen Counsel                                 n Unliquidated
           New York, NY 10008                                        o Disputed
           Date or dates debt was incurred                           Basis for the claim:
           1/1/2018                                                  Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                       n No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     o Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $18,635.00
           1 Model Management                                                      o Contingent
           Attn: Pres. or Gen Counsel                                              o Unliquidated
           42 Bond Street, 2nd Floor                                               o Disputed
           New York, NY 10012
                                                                                   Basis for the claim:     Settlement
           Date(s) debt was incurred February 2019
           Last 4 digits of account number                                         Is the claim subject to offset?     n No o Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $156,599.91
           4525 Wilshire LLC                                                       n Contingent
           3600 Birch Street, #250
           Attn: Pres or Gen Counsel
                                                                                   n Unliquidated
           Newport Beach, CA 92660                                                 n Disputed
           Date(s) debt was incurred 4/29/2019                                     Basis for the claim:     Rent
           Last 4 digits of account number                                         Is the claim subject to offset?     o No   n Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                   26827                                            Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 17 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $288,280.00
          5 Crosby Street                                                    o Contingent
          5 Crosby Street                                                    o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred 3/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   o No    n Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,162.78
          Aleron Technology Group, LLC                                       o Contingent
          8815 144th Street Apt. 2G                                          o Unliquidated
          Attn: Kevin Singh                                                  o Disputed
          Jamaica, NY 11435
                                                                             Basis for the claim:    Computer Purchase-Mariko Mac
          Date(s) debt was incurred 5/20/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,300.00
          Alex Goldstein                                                     o Contingent
          178 Ludlow Street                                                  o Unliquidated
          Apt. 2B                                                            o Disputed
          New York, NY 10002
                                                                             Basis for the claim:    Freelance Work
          Date(s) debt was incurred      7/8/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $97,533.18
          American Express                                                   o Contingent
          C/o Zwicker & Associates                                           o Unliquidated
          PO Box 9043                                                        o Disputed
          Andover, MA 01810-9043
                                                                             Basis for the claim:    Settlement
          Date(s) debt was incurred April 2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,683.40
          AMEX (*1003)                                                       o Contingent
          PO Box 1270                                                        o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Newark, NJ 07101
                                                                             Basis for the claim:    Credit Card
          Date(s) debt was incurred 2/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $28,763.03
          Anchor Worldwide                                                   o Contingent
          333 Hudson Street, Suite 201                                       o Unliquidated
          Attn: Hunter Blakely                                               o Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 9/5/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,200.00
          Anna J. Domoslawska                                                o Contingent
          37-15 72nd Street                                                  o Unliquidated
          Apt. 15                                                            o Disputed
          Jackson Heights, NY 11372
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 18 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,501.55
          Anthem Life/Disability Insuran                                     o Contingent
          PO Box 182361                                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Worthington, OH 43085
                                                                             Basis for the claim:    Insurance
          Date(s) debt was incurred 8/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $92,516.00
          Art and Commerce                                                   o Contingent
          531 West 25th Street 4th Floor                                     o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/30/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,000.00
          Astrina, Inc                                                       o Contingent
          55 Union Pl #200                                                   o Unliquidated
          Attn: Pres or Gen Counsel                                          n Disputed
          Summit, NJ 07901
          Date(s) debt was incurred 6/2/2019
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,338.80
          Atelier Management                                                 o Contingent
          529 S Broadway Suite 305                                           o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Los Angeles, CA 90013
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/30/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $613.54
          Avril Films                                                        o Contingent
          72 rue Dulong                                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Paris, FR 75017
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 10/25/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,045.73
          Baker Tilly Virchow Krause LLP                                     o Contingent
          1050 Crown Pointe Pkwy Ste 165                                     o Unliquidated
          Attn: Jonathan Marks                                               o Disputed
          Atlanta, GA 30338
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/11/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $468,056.57
          Baume & Mercier                                                    o Contingent
          50 chemin de la chenaie                                            n Unliquidated
          1293 bellevue Attn Pres or GC
                                                                             o Disputed
          Geneva, Switzerland CP30
          Date(s) debt was incurred 2/2019
                                                                             Basis for the claim:    Credit Owed
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 19 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $633.88
          Bay Imaging, Inc.                                                  o Contingent
          1705 W University Dr Ste 108                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          McKinney, TX 75069
                                                                             Basis for the claim:    Purchased Goods
          Date(s) debt was incurred 3/4/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $600.00
          Bobb Barito                                                        o Contingent
          100 Maspeth Ave., Apt. 4A                                          o Unliquidated
          Brooklyn, NY 11211                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $21,000.00
          Bond Creative Search                                               o Contingent
          134 Spring Street Suite 501                                        o Unliquidated
          Attn: Pres or Gen Counsel                                          n Disputed
          New York, NY 10012
          Date(s) debt was incurred 6/20/2016
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,224.00
          Borah, Goldstein, Altschuler                                       o Contingent
          377 Broadway                                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 3/5/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,254.90
          Bryant Artists                                                     o Contingent
          156-158 Ludlow Street - Ste 5R                                     o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10002
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 3/28/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,772.25
          C&R Delaware Cut & Run Ltd.                                        o Contingent
          599 Broadway 12th Floor                                            o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10012
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/6/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $15,000.00
          Cadence NY                                                         o Contingent
          77 Franklin Street Floor 2                                         o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 11/21/2016
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 20 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,339.54
          Candice Roy                                                        o Contingent
          140 Dwight Place                                                   o Unliquidated
          Englewood, NJ 07631                                                o Disputed
          Date(s) debt was incurred 1/9/2017
                                                                             Basis for the claim:    Employee Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,376.00
          Cap Gun Collective, LLC                                            o Contingent
          54 W Hubbard Street Ste 501                                        o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Chicago, IL 60654
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 3/18/2016
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $281.63
          CARR                                                               o Contingent
          PO Box 28330                                                       n Unliquidated
          Attn: Pres or Gen Counsel
          New York, NY 10087                                                 n Disputed
          Date(s) debt was incurred 2/27/2019                                Basis for the claim:    Purchased Services
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $329,331.76
          CFGI LLC                                                           o Contingent
          340 Madison Avenue                                                 o Unliquidated
          Att: Stephanie Cabral-Choudri                                      o Disputed
          New York, NY 10173
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 9/30/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $133.25
          Christiano Morroi                                                  o Contingent
          10 Bleeker Street                                                  o Unliquidated
          Apt. 6D                                                            o Disputed
          New York, NY 10010
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred      3/23/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $749.70
          CIT Direct Capital                                                 o Contingent
          155 Commerce Way                                                   n Unliquidated
          Attn: Pres or Gen Counsel
          Portsmouth, NH 03801                                               n Disputed
          Date(s) debt was incurred 9/14/2018                                Basis for the claim:    Computer Lease
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $750.00
          Cloutier Remix                                                     o Contingent
          8952 Ellis Avenue                                                  o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Los Angeles, CA 90034
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 2/7/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 21 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,900.36
          CM Designs                                                         o Contingent
          Croyde Mirandon                                                    o Unliquidated
          Mainkai 18                                                         o Disputed
          60311 Frankfurt am Ma Germany
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 12/22/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,960.00
          Code Gray LLC                                                      o Contingent
          100 Paterson Plank Rd Ste 403                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Jersey City, NJ 07307
                                                                             Basis for the claim:    Settlement
          Date(s) debt was incurred 7/2/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $231,560.74
          ColleenFrost&ClassofLAInterns                                      o Contingent
          C/o Outten&Golden/Rachel Bien                                      o Unliquidated
          One California St, 12th Flr.                                       o Disputed
          San Francisco, CA 94111
                                                                             Basis for the claim:    Settlement
          Date(s) debt was incurred 7/15/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Collins Nai                                                        o Contingent
          209 Lexington Ave. Ground Floo                                     o Unliquidated
          Brooklyn, NY 11216                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,011.90
          Currents                                                           o Contingent
          13 Rue David Chabas                                                o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          40130 Capbreton, France
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 12/31/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $800.00
          Daniela Quiroz                                                     o Contingent
          185 Clifton Place                                                  o Unliquidated
          Apt. 4R                                                            o Disputed
          Brooklyn, NY 11216
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred      4/8/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   o No    n Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $660,000.00
          DG Premium Brands                                                  n Contingent
          761 Dock Street
          Attn: Pres or Gen Counsel
                                                                             n Unliquidated
          Los Angeles, CA 90021                                              n Disputed
          Date(s) debt was incurred 7/25/2019                                Basis for the claim:    Services Not Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 22 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $13,000.00
          Dialect, NY, LLC                                                   o Contingent
          77 Franklin Street, Floor 2                                        o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 3/14/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $25,500.00
          DJN Entertainment, Inc.                                            o Contingent
          1880 Century Park East, #950                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/18/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          DNA                                                                o Contingent
          555 West 25th Street 6th Floor                                     o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 9/10/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,727.22
          Domino New York LLC                                                o Contingent
          Attn: President or Gen Counsel                                     o Unliquidated
          34 Ludlow Street Apt. 14                                           o Disputed
          New York, NY 10002
                                                                             Basis for the claim:    Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,770.00
          Drinker Biddle & Reath LLP                                         o Contingent
          105 College Road East Ste 300                                      o Unliquidated
          Princeton, NJ 08542                                                o Disputed
          Date(s) debt was incurred 8/8/2018
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,100.00
          Duc Dubois                                                         o Contingent
          1220 East West Hwy Suite 1518                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Silver Spring, MD 20910
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 3/15
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $304.85
          Duggal                                                             o Contingent
          Attn: President or Gen Counsel                                     o Unliquidated
          63 Flushing Ave.                                                   o Disputed
          Brooklyn, NY 11205
                                                                             Basis for the claim:    Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 23 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,950.00
          Dungeon Beach                                                      o Contingent
          63 North Third Street                                              o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Brooklyn, NY 11249
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 3/26/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,250.00
          EMI Entertainment Word                                             o Contingent
          Regions Bank 550 Metroplex Dr                                      o Unliquidated
          Attn: Lockbox Department                                           o Disputed
          Nashville, TN 37211
                                                                             Basis for the claim:    Licensing
          Date(s) debt was incurred 3/27/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $461.72
          Empire Dental                                                      o Contingent
          PO Box 202837                                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Dallas, TX 75320
                                                                             Basis for the claim:    Insurance
          Date(s) debt was incurred 8/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $25,764.15
          Empire HealthChoice                                                o Contingent
          PO Box 11744                                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Newark, NJ 07101
                                                                             Basis for the claim:    Insurance
          Date(s) debt was incurred 8/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          Eric Mestman                                                       o Contingent
          614A Kosciuszko Street Apt. 2                                      o Unliquidated
          Brooklyn, NY 11221                                                 o Disputed
          Date(s) debt was incurred 7/20/2019
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,721.11
          Exposure NY                                                        o Contingent
          100 Crosby Street Suite 407                                        o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10012
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $439.88
          Express Connection                                                 o Contingent
          12021 Wilshire Blvd Suite 922                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Los Angeles, CA 90025
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 5/31/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 24 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,698.14
          Fashion GPS, Inc                                                   o Contingent
          22 West 27th Street 11th Floor                                     o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 4/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,647.86
          FDZ Inc. SARL au capital de                                        o Contingent
          42 rue de Maubeuge                                                 o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          PARIS, FR 75009
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 12/31/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $643.35
          FedEx                                                              o Contingent
          PO Box 371461                                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Pittsburgh, PA 15250
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/16/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,460.00
          FentonMoon Media Inc                                               o Contingent
          207 East 63rd Street Suite 1W                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10065
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/17/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          File Studios LLC                                                   o Contingent
          95 N 8th Street                                                    o Unliquidated
          Attn: Mitchell Lyne                                                o Disputed
          Brooklyn, NY 11249
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred      11/19/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $33,146.60
          First Impulse                                                      o Contingent
          18 Goodyear Suite 125                                              o Unliquidated
          Attn: Justin Hoel                                                  o Disputed
          Irvine, CA 92618
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 12/20/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,194.99
          Francisco Fagan                                                    o Contingent
          10 Stuyvesant Oval 6F                                              o Unliquidated
          New York, NY 10009                                                 o Disputed
          Date(s) debt was incurred 7/26/2019
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 25 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,820.96
          Gavin Francis Thomas                                               o Contingent
          139 Meserole Street                                                o Unliquidated
          Brooklyn, NY 11206                                                 o Disputed
          Date(s) debt was incurred 3/9/2017
                                                                             Basis for the claim:    Employee Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $47,195.00
          Gloss                                                              o Contingent
          28 West 25th Street Fl 12                                          o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10010
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $26,050.00
          Goldfine & Company, CPA, PC                                        o Contingent
          24604 Jericho Turnpike                                             o Unliquidated
          Attn: Pres or Gen Counsel                                          n Disputed
          Bellerose, NY 11001
          Date(s) debt was incurred 3/12/2018
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number                                    Is the claim subject to offset?   o No    n Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $41,712.02
          Green Line Digital                                                 o Contingent
          38 Pine Avenue                                                     o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Madison, NJ 07940
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 10/1/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $30,946.00
          Greg Krelenstein                                                   o Contingent
          59 5th Avenue PH                                                   o Unliquidated
          New York, NY 10003                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Bonus
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,193.90
          Guy Aroche                                                         o Contingent
          C/o Peter Murphy-ML Management                                     o Unliquidated
          250 West 57th St., 26th Flr.                                       o Disputed
          New York, NY 10107
                                                                             Basis for the claim:    Settlement
          Date(s) debt was incurred
          Last 4 digits of account number       2017                         Is the claim subject to offset?   n No o Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $25,000.00
          Hey Kyle LLC                                                       o Contingent
          16000 Ventura Blvd Suite 600                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Encino, CA 91436-2748
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/27/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 26 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $95,000.00
          Iana Consulting                                                    o Contingent
          458 Putnam Avenue                                                  o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Brooklyn, NY 11221
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 11/1/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Image Data Systems LTD - US $                                      o Contingent
          20-24 Kirby Street                                                 o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          London EC1N 8TS, UK
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 10/10/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $60,000.00
          IMG Models, LLC                                                    o Contingent
          PH North, 304 Park Ave South                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10010
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/29/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,600.00
          IMG UK LTD                                                         o Contingent
          97 Tottenham Court 3rd Fl Netw                                     o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          London W1T 4TF, UK
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 3/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,000.00
          Immanuel Wilkins Music                                             o Contingent
          Immanuel Wilkins                                                   o Unliquidated
          2300 5th Avenue, Apt. 9D                                           o Disputed
          New York, NY 10037
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 9/27/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $25,920.00
          Imperial Parking                                                   o Contingent
          1500 Duarte Road                                                   o Unliquidated
          Attn: Coralia Munoz                                                o Disputed
          Duarte, CA 91010
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred      2/27/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $22,961.07
          Internal Revenue Service                                           o Contingent
          Internal Revenue Service                                           o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Cincinnati, OH 45999
                                                                             Basis for the claim:    Taxes
          Date(s) debt was incurred 1/9/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 27 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $271,541.88
          Internal Revenue Service                                           o Contingent
          Bankruptcy Unit                                                    o Unliquidated
          290 Broadway - 5th Floor                                           o Disputed
          New York, NY 10007
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $40,185.96
          INTHESOMEDAY                                                       o Contingent
          139 Meseorole Street                                               o Unliquidated
          Attn: Pres or Gen Counsel                                          n Disputed
          Brooklyn, NY 11201-6000
          Date(s) debt was incurred 10/17/2018
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,250.00
          Irving Harvey LLC                                                  o Contingent
          Irving Harvey                                                      o Unliquidated
          368 Broadway #203                                                  o Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred      7/18/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $126,545.44
          James Grant                                                        o Contingent
          463 Greenwich Street #1                                            o Unliquidated
          New York, NY 10013                                                 o Disputed
          Date(s) debt was incurred 6/17/2015
                                                                             Basis for the claim:    Long term loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   o No    n Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,689.35
          James Grant                                                        o Contingent
          463 Greenwich Street #1                                            o Unliquidated
          New York, NY 10013                                                 o Disputed
          Date(s) debt was incurred 6/17/2015
                                                                             Basis for the claim:    Long term loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   o No    n Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $291,314.54
          James Grant                                                        o Contingent
          463 Greenwich Street #1                                            o Unliquidated
          New York, NY 10013                                                 o Disputed
          Date(s) debt was incurred 5/2/2005
                                                                             Basis for the claim:    Long term loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   o No    n Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $95,416.67
          James Grant                                                        o Contingent
          463 Greenwich Street #1                                            o Unliquidated
          New York, NY 10013                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Guaranteed Payments
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 28 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $625.00
          Jenda Alcorn                                                       o Contingent
          1464 Morton Place                                                  o Unliquidated
          Los Angeles, CA 90026                                              o Disputed
          Date(s) debt was incurred 2/8/2019
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $800.00
          Jessica Rothman                                                    o Contingent
          15 Stewart Place                                                   o Unliquidated
          Apt. 3B                                                            o Disputed
          White Plains, NY 10603
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/3/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,333.75
          John Walcott Associates, Inc.                                      o Contingent
          3859 Cardiff Avenue                                                o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Culver City, CA 90232
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 4/9/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $40,000.00
          JRW Entertainment                                                  o Contingent
          19829 Covello Street                                               o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Winnetka, CA 91306
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 10/6/2016
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Julian LaPlace                                                     o Contingent
          168 India Street                                                   o Unliquidated
          Apt. 10                                                            o Disputed
          Brooklyn, NY 11222
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred      6/15/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,501.00
          Knowmore                                                           o Contingent
          111 Kent Avenue #5H                                                o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Brooklyn, NY 11211
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 3/31/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,600.00
          L.A. Models                                                        o Contingent
          7700 Sunset Boulevard                                              o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Los Angeles, CA 90046
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/20/2016
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 13 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 29 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $46,720.49
          LCA Bank Corporation                                               o Contingent
          PO Box 1650                                                        o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Troy, MI 48099
                                                                             Basis for the claim:    Printer Lease
          Date(s) debt was incurred 6/5/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   Undetermined
          Lisa Walker                                                        n Contingent
          16754 Ashley Oaks
          Encino, CA 91436
                                                                             n Unliquidated
          Date(s) debt was incurred
                                                                             n Disputed
          Last 4 digits of account number                                    Basis for the claim:    SWA
                                                                             Is the claim subject to offset?   n No o Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $933.75
          LMC Worldwide LLC                                                  o Contingent
          295 Madison Avenue 12th Floor                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10017
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/28/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,450.17
          Luca Werner                                                        o Contingent
          Maisacherstrabe 31                                                 o Unliquidated
          83356 Furstenfeldbruck                                             o Disputed
          Date(s) debt was incurred 10/25/2018
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,248.95
          Mader News, Inc                                                    o Contingent
          913 Ruberta Avenue                                                 o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Glendale, CA 91201
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/1/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $40,000.00
          Man Repeller, LLC                                                  o Contingent
          181 Mott Street, Apt. 2                                            o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10012
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 11/15/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $19,150.20
          Mark Noe                                                           o Contingent
          7 Queens Gardens                                                   n Unliquidated
          Glasgow 912 9DG
           UK                                                                n Disputed
          Date(s) debt was incurred      4/30/2016                           Basis for the claim:    Purchased Services
          Last 4 digits of account number                                    Is the claim subject to offset?   o No    n Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 14 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 30 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,452.30
          Merrilee Hesterfer Diaz                                            o Contingent
          20 Pettit Street                                                   o Unliquidated
          Bloomfield, NJ 07003                                               o Disputed
          Date(s) debt was incurred 6/17/2019
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $23,919.78
          Michael Page International Inc                                     o Contingent
          622 3rd Avenue 29th Floor                                          o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10017
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,284.50
          Mitchell's                                                         o Contingent
          PO Box 8367                                                        o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Long Island City, NY 11101
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 5/24/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Moyalaces, LLC                                                     o Contingent
          15706 Crenshaw Blvd.                                               o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Gardena, CA 90249
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 9/7/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,250.00
          Nate Best Studios Inc.                                             o Contingent
          418 Prospect Ave, Apt. 2R                                          o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Brooklyn, NY 11215
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/22/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,321.58
          New York State Insurance Fund                                      o Contingent
          Workers Comp PO Box 5262                                           o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Binghamton, NY 13902
                                                                             Basis for the claim:    Workers Compensation
          Date(s) debt was incurred 11/2/2016
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,400.00
          Next Management LLC                                                o Contingent
          8447 Wilshire Blvd. Penthouse                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Beverly Hills, CA 90211
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/22/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 15 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 31 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,141.76
          Nice Creative Co.                                                  o Contingent
          Attn: Pres or Gen Counsel                                          o Unliquidated
          5529 W. Washington Blvd.                                           o Disputed
          Los Angeles, CA 90016
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 5/7/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   Undetermined
          Nicola Bidder                                                      n Contingent
          37 Warneford Street
          London England E8 4NS
                                                                             n Unliquidated
          Date(s) debt was incurred
                                                                             n Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?   n No o Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $64,225.45
          NJJ Productions Inc.                                               o Contingent
          c/o FFO 135 West 50th St Fl 19                                     o Unliquidated
          Attn: Pres or Gen Counsel                                          n Disputed
          New York, NY 10020
          Date(s) debt was incurred 6/1/2018
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $16,551.79
          NYC Dept of Finance                                                o Contingent
          Church St Station                                                  o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10008
                                                                             Basis for the claim:    Taxes
          Date(s) debt was incurred 4/30/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,048.50
          NYC Glass Works Corp                                               o Contingent
          2201 Neptune Avenue                                                o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Brooklyn, NY 11224
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 2/24/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,956.88
          NYS Unemployment Insurance                                         o Contingent
          PO Box 4301                                                        o Unliquidated
          Binghamton, NY 13902-4301                                          o Disputed
          Date(s) debt was incurred 5/22/2017
                                                                             Basis for the claim:    Unemployment Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $27,500.00
          Old World Imports, Inc.                                            o Contingent
          44 Cocoanut Row Apt. A416                                          o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Palm Beach, FL 33480
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/16/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 16 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 32 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,050.00
          One Destiny Prod, Inc dba CMD                                      o Contingent
          37 West 37th Street, 12th Fl                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10018
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 4/10/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,449.22
          Owens Group                                                        o Contingent
          619 Palisade Avenue                                                o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Englewood Cliffs, NJ 07632
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 3/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $18,000.00
          PageGroup                                                          o Contingent
          622 3rd Avenue, 29th Floor                                         o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10017
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/4/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   Undetermined
          Patrick Butler                                                     n Contingent
          1485 5th Ave., Apt# 15J
          New York, NY 10035-2776
                                                                             n Unliquidated
          Date(s) debt was incurred
                                                                             n Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?   n No o Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $988.00
          Paul McFarlane                                                     o Contingent
          244 5th Avenue D213                                                o Unliquidated
          New York, NY 10001                                                 o Disputed
          Date(s) debt was incurred      3/1/2017                            Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Peter Hughes                                                       o Contingent
          Assembly London                                                    o Unliquidated
          99 Gold Street, Apt. 4N                                            o Disputed
          Brooklyn, NY 11201
                                                                             Basis for the claim:    sublease security deposit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          PG&CO Creative, Inc.                                               o Contingent
          c/o DuVal Fields CPA Group, PA                                     o Unliquidated
          428 Walnut Street                                                  o Disputed
          Green Cove Springs, FL 32043
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/15/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 17 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 33 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,726.95
          Point Consultants                                                  o Contingent
          Gene Reich                                                         o Unliquidated
          368 Broadway Suite 303                                             o Disputed
          New York, NY 10013
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,975.00
          Presti & Naegele (7739)                                            o Contingent
          225 West 35th Street 16th Fl                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 11/30/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $484,785.00
          Project X                                                          o Contingent
          PO Box 3486                                                        o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10007
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 2/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $35,000.00
          Pulse Films                                                        o Contingent
          Asleigh Lim                                                        o Unliquidated
          17 Hanbury Street                                                  o Disputed
          London E1 6QR UK
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred      5/25/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $182.39
          R&R Swindle Ltd.                                                   o Contingent
          Unit 11 76 Eldon Street                                            o Unliquidated
          Sheffield, England S1 4GT                                          o Disputed
          Date(s) debt was incurred 1/21/2019
                                                                             Basis for the claim:    Purchased Goods
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,608.30
          Rebekah Keida                                                      o Contingent
          71 West Hubbard Street                                             o Unliquidated
          Chicago, IL 60654                                                  o Disputed
          Date(s) debt was incurred 3/5/2018
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,871.78
          Ring Central, Inc.                                                 o Contingent
          Dept. CH 19585                                                     o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Palatine, IL 60055
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/10/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 18 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 34 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,400.00
          Robert Half International, Inc                                     o Contingent
          PO Box 743295                                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Los Angeles, CA 90074-3295
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/2/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   Undetermined
          Samer Fawaz                                                        n Contingent
          3801 Glenfeliz Blvd.
          Los Angeles, CA 90039
                                                                             n Unliquidated
          Date(s) debt was incurred
                                                                             n Disputed
          Last 4 digits of account number                                    Basis for the claim:    SWA
                                                                             Is the claim subject to offset?   n No o Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $18,374.68
          Schor Vogelzang LLP                                                o Contingent
          600 B Street                                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          San Diego, CA 92101
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 9/6/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $50,000.00
          Scoosh, Inc.                                                       o Contingent
          200 Park Avenue South, 8th Fl                                      o Unliquidated
          Attn: Ryan Hayes                                                   o Disputed
          New York, NY 10003
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/31/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,875.94
          Second Son Consulting, Inc.                                        o Contingent
          18401 Burbank Blvd. #222                                           o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Tarzana, CA 91356
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 12/31/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $22,500.00
          Sneeze LLC                                                         o Contingent
          604-1908 Scotia Street                                             o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Vancouver BC V5T 0E8
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 12/17/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          Sony Music Holdings, Inc.                                          o Contingent
          25 Madison Avenue                                                  o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10010
                                                                             Basis for the claim:    Licensing
          Date(s) debt was incurred 3/13/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 19 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 35 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $15,295.00
          Stanley Security                                                   o Contingent
          8350 Sunlight Drive Suite 200                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Fishers, IN 46037
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/1/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   Undetermined
          Starworks Artists, LLC                                             n Contingent
          4525 Wilshire Blvd #150
          Los Angeles, CA 90010
                                                                             n Unliquidated
          Date(s) debt was incurred
                                                                             n Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?   o No    n Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,559.32
          Stephanie Choudri                                                  o Contingent
          1061 Adams Avenue                                                  o Unliquidated
          Franklin Square, NY 11010                                          o Disputed
          Date(s) debt was incurred 6/4/2019
                                                                             Basis for the claim:    Expense Reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,298.07
          Streeters                                                          o Contingent
          190 Bowery                                                         o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10012
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/19/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $937.50
          Sullivan & Assoc Law Firm, PC                                      o Contingent
          80 Maiden Lane Suite 1502                                          o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10038
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/4/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $12,673.38
          Sullivan & Worcester LLP                                           o Contingent
          PO Box 842482                                                      o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Boston, MA 02284-2482
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/30/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $201,593.47
          Svetlana Vareljan                                                  o Contingent
          463 Greenwich Street #1                                            o Unliquidated
          New York, NY 10013                                                 o Disputed
          Date(s) debt was incurred 2/2/2006
                                                                             Basis for the claim:    Long term loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   o No    n Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 20 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 36 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $95,416.67
          Svetlana Vareljan                                                  o Contingent
          463 Greenwich Street #1                                            o Unliquidated
          New York, NY 10013                                                 o Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Guaranteed payments
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,396.50
          Taste Art NYC LLC                                                  o Contingent
          Attn: Pres or Gen Counsel                                          o Unliquidated
          31 Washington St. #9                                               o Disputed
          Brooklyn, NY 11201
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 7/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   Undetermined
          The Laundress                                                      o Contingent
          247 West 30th Street, 7th Fl                                       o Unliquidated
          Attn: Lindsey Boyd                                                 n Disputed
          New York, NY 10001
          Date(s) debt was incurred
                                                                             Basis for the claim:    Contract Dispute
          Last 4 digits of account number                                    Is the claim subject to offset?   o No    n Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,614.00
          The Wall Group                                                     o Contingent
          1801 W Olympic Blvd.                                               o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Pasadena, CA 91199
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/25/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,578.10
          The Wall Group LA, LLC                                             o Contingent
          38 West 21st Street, Fl 11                                         o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10010
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/24/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $741.08
          TimePayment Corp.                                                  o Contingent
          PO Box 3069                                                        o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Woburn, MA 01888
                                                                             Basis for the claim:    Lease
          Date(s) debt was incurred 6/5/2015
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,000.00
          TIPALTI INC                                                        o Contingent
          1810 Gateway Drive, Suite 260                                      o Unliquidated
          Attn: Camy Anderson                                                o Disputed
          San Mateo, CA 94404
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/29/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 21 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 37 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,735.00
          Tracey Mattingly                                                   o Contingent
          717 North Highland Avenue                                          o Unliquidated
          Los Angeles, CA 90038                                              o Disputed
          Date(s) debt was incurred 1/24/2019
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $84,278.82
          Trinet                                                             o Contingent
          One Park Ave South Suite 600                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Dublin, CA 94568
                                                                             Basis for the claim:    Payroll
          Date(s) debt was incurred 7/15/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Tyler Mitchell Studios                                             o Contingent
          2858 Paces Lookout Lane SE                                         o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Atlanta, GA 30339
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 8/11/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $27,500.00
          United Talent Agency, LLC                                          o Contingent
          9336 Civic Center Drive                                            o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Beverly Hills, CA 90210
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 2/6/2019
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $97,596.96
          Universal Studios Oper Group                                       o Contingent
          PO Box 56257                                                       o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Los Angeles, CA 90074-6257
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/1/2016
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $596.64
          Upgrade Services                                                   o Contingent
          Attn: President or Gen Counsel                                     o Unliquidated
          65 West 36th St., 4th Floor                                        o Disputed
          New York, NY 10018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,375.00
          Velem, LLC                                                         o Contingent
          15 West 26th Street, 8th Floor                                     o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          New York, NY 10010
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 6/4/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 22 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 38 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $185,317.00
          Vice Holding Inc                                                   o Contingent
          49 South 2nd Street                                                o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Brooklyn, NY 11211
                                                                             Basis for the claim:    Employee benefits
          Date(s) debt was incurred 5/11/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $70,000.00
          Vice Holding Inc                                                   o Contingent
          Cingari Settlement                                                 o Unliquidated
          49 South 2nd Street                                                o Disputed
          Brooklyn, NY 11211
                                                                             Basis for the claim:    Legal Settlement
          Date(s) debt was incurred      5/11/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $81,700.00
          Vice Holding Inc -Marc Jacobs                                      o Contingent
          49 South 2nd Street                                                o Unliquidated
          Brooklyn, NY 11211                                                 o Disputed
          Date(s) debt was incurred 5/11/2018
                                                                             Basis for the claim:    Purchased Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $195,125.00
          Vice Holding Inc-Audit                                             o Contingent
          49 South 2nd Street                                                o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Brooklyn, NY 11211
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 5/11/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $40,000.00
          Vice Holding Inc-Diadora Camp                                      o Contingent
          49 South 2nd Street                                                o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Brooklyn, NY 11211
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 5/11/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,906.00
          Vice Holding Inc-Expense Reim                                      o Contingent
          49 South 2nd Street                                                o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Brooklyn, NY 11211
                                                                             Basis for the claim:    Expense Reimbursement
          Date(s) debt was incurred 5/11/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $130,500.00
          Vice Holding Inc.                                                  o Contingent
          Attn: Lucinda Treat                                                o Unliquidated
          49 South 2nd Street                                                o Disputed
          Brooklyn, NY 11211
                                                                             Basis for the claim:    Certain 2019 payroll
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 23 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 39 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,347,721.88
          Vice Holding, Inc.                                                 o Contingent
          49 South 2nd Street                                                o Unliquidated
          Brooklyn, NY 11211                                                 o Disputed
          Date(s) debt was incurred      December 2016                       Basis for the claim:    Line of credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $868,973.22
          Vice Holding, Inc.                                                 o Contingent
          49 South 2nd Street                                                o Unliquidated
          Brooklyn, NY 11211                                                 o Disputed
          Date(s) debt was incurred      December 2016                       Basis for the claim:    Promissory note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $37,500.00
          Vice Holding, Inc.                                                 o Contingent
          49 South 2nd Street                                                o Unliquidated
          Brooklyn, NY 11211                                                 o Disputed
          Date(s) debt was incurred      8/5/2019                            Basis for the claim:    Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?   n No o Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,800.00
          Vison Models                                                       o Contingent
          8631 Washington Blvd.                                              o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Culver City, CA 90232
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 1/16/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,464.40
          Wells Fargo Financial Leasing                                      o Contingent
          PO Box 6434                                                        o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Carol Stream, IL 60197-6434
                                                                             Basis for the claim:    Printer Lease
          Date(s) debt was incurred 8/2/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,449.24
          Windstream                                                         o Contingent
          PO Box 9001013                                                     o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Carol Stream, IL 60197-6434
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 8/1/2017
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $162,000.00
          WME IMG Ent c/o WME Ent                                            o Contingent
          9601 Wilshire Boulevard                                            o Unliquidated
          Attn: Pres or Gen Counsel                                          o Disputed
          Beverly Hills, CA 90210
                                                                             Basis for the claim:    Purchased Services
          Date(s) debt was incurred 9/12/2018
          Last 4 digits of account number                                    Is the claim subject to offset?   n No o Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 24 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                              Main Document
                                                                               Pg 40 of 47
 Debtor       Starworks, LLC                                                                          Case number (if known)
              Name

 3.164     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $144.87
           XPO Logistics                                                     o Contingent
           29564 Network Place                                               o Unliquidated
           Attn: Pres or Gen Counsel                                         o Disputed
           Chicago, IL 60673-1564
                                                                             Basis for the claim:    Purchased Services
           Date(s) debt was incurred 4/30/2019
           Last 4 digits of account number                                   Is the claim subject to offset?   n No o Yes
 3.165     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $17,500.00
           Zoe Bruns                                                         o Contingent
           15 West 11th Street                                               o Unliquidated
           Apt. 5A                                                           o Disputed
           New York, NY 10011
                                                                             Basis for the claim:    Purchased Services
           Date(s) debt was incurred     6/13/2019
           Last 4 digits of account number                                   Is the claim subject to offset?   n No o Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Aaron Bryant Stewart & Cross
           Attn: Nicole Vayo                                                                          Line     3.61
           3189 Princetown Rd. Suite 217
           Hamilton, OH 45011                                                                         o      Not listed. Explain


 4.2       Anderson Sleater Sianni LLC
           Attn: Jessica Sleater                                                                      Line     3.59
           1250 Broadway, 27th Floor
           New York, NY 10001                                                                         o      Not listed. Explain


 4.3       Anderson Sleater Sianni LLC
           Attn: Jessica Sleater                                                                      Line     3.102
           1250 Broadway, 27th Floor
           New York, NY 10001                                                                         o      Not listed. Explain


 4.4       Anderson Sleater Sianni LLC
           Attn: Jessica Sleater                                                                      Line     3.111
           1250 Broadway, 27th Floor
           New York, NY 10001                                                                         o      Not listed. Explain


 4.5       Baranoff Law Firm PC
           Attn: Adrienne Baranoff                                                                    Line     3.63
           641 Lexington Ave., 15th Flr
           New York, NY 10022
                                                                                                      o      Not listed. Explain


 4.6       Brown Neri Smith & Khan LLP
           Attn: Ethan Brown                                                                          Line     3.88
           11601 Wilshire Blvd., Ste 2080
           Los Angeles, CA 90025                                                                      o      Not listed. Explain


 4.7       Brown Neri Smith & Khan LLP
           Attn: Ethan Brown                                                                          Line     3.123
           11601 Wilshire Blvd., Ste 2080
           Los Angeles, CA 90025                                                                      o      Not listed. Explain




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 25 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                      Main Document
                                                                               Pg 41 of 47
 Debtor       Starworks, LLC                                                                      Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the   Last 4 digits of
                                                                                                 related creditor (if any) listed?         account number, if
                                                                                                                                           any
 4.8       Brown Neri Smith & Khan LLP
           Attn: Ethan Brown                                                                     Line   3.130
           11601 Wilshire Blvd., Ste 2080
           Los Angeles, CA 90025                                                                 o      Not listed. Explain


 4.9       Drinker Biddle & Reath LLP
           Attn: Marsha Indych                                                                   Line   3.37
           1177 Ave of the Americas,41 FL
           New York, NY 10036-2714
                                                                                                 o      Not listed. Explain


 4.10      Heerde Blum LLP
           Attn: Matthew Heerde                                                                  Line   3.1
           222 Broadway, 19th Flr
           New York, NY 10038                                                                    o      Not listed. Explain


 4.11      Law Office of Adam Kotok, PC
           Attn: Adam Kotok                                                                      Line   3.92
           5701 Mosholu Ave., 2nd Flr
           Riverdale, NY 10471                                                                   o      Not listed. Explain


 4.12      Poler Legal LLC
           Attn: Emily Poler                                                                     Line   3.74
           147 Prince Street
           Brooklyn, NY 11201                                                                    o      Not listed. Explain


 4.13      Roach & Murtha, P.C.
           500 BiCounty Blvd., Suite 475                                                         Line   3.32
           Attn: Time Murtha
           Farmingdale, NY 11735                                                                 o      Not listed. Explain


 4.14      Roach & Murtha, P.C.
           500 BiCounty Blvd., Suite 475                                                         Line   3.144
           Attn: Time Murtha
           Farmingdale, NY 11735                                                                 o      Not listed. Explain


 4.15      The Volakos Law Firm PC
           Attn: John Boulos                                                                     Line   3.19
           120 Bay Ridge Avenue
           Brooklyn, NY 11220
                                                                                                 o      Not listed. Explain


 4.16      TheWallGroup/Nathreen Weicher
           700 N. San Vicente Blvd                                                               Line   3.139
           Suite G600, 6th Floor
           Los Angeles, CA 90069                                                                 o      Not listed. Explain


 4.17      Walters & Walkers
           Attn: Matthew Walters                                                                 Line   3.76
           20 Vesey St., Suite 700
           New York, NY 10007                                                                    o      Not listed. Explain


 4.18      Walters & Walkers
           Attn: Matthew Walters                                                                 Line   3.77
           20 Vesey St., Suite 700
           New York, NY 10007                                                                    o      Not listed. Explain


 4.19      Walters & Walkers
           Attn: Matthew Walters                                                                 Line   3.78
           20 Vesey St., Suite 700
           New York, NY 10007                                                                    o      Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 26 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19           Entered 09/27/19 18:09:27                      Main Document
                                                                               Pg 42 of 47
 Debtor       Starworks, LLC                                                                      Case number (if known)
              Name

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                     19,149.00
 5b. Total claims from Part 2                                                                       5b.   +   $                  8,787,522.29
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                    8,806,671.29




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 27 of 27
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19        Entered 09/27/19 18:09:27               Main Document
                                                                            Pg 43 of 47
 Fill in this information to identify the case:

 Debtor name         Starworks, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                             o   Check if this is an
                                                                                                                                 amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
      o No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      n Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   LA office space lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Terminates on                4525 Wilshire, LLC
                                                          8/31/2026                    C/o West Capital Partners
             List the contract number of any                                           2101 Rosecrans Ave., Ste. 3270
                   government contract                                                 El Segundo, CA 90245


 2.2.        State what the contract or                   Professional liability
             lease is for and the nature of               insurance policy.
             the debtor's interest

                  State the term remaining                Terminates on                Beazley Group
                                                          3/19/2020                    Attn: Pres or Gen Counsel
             List the contract number of any                                           333 West Wacker Drive
                   government contract                                                 Chicago, IL 60606


 2.3.        State what the contract or                   Contract in which
             lease is for and the nature of               Debtor provides certain
             the debtor's interest                        services relating to
                                                          marketing,
                                                          comminiations, and/or
                                                          branding.
                  State the term remaining                Terminates on                DG Premium Brands LLC
                                                          1/31/2020                    777 South Alameda St., Bldg 1
             List the contract number of any                                           4th Floor
                   government contract                                                 Los Angeles, CA 90021


 2.4.        State what the contract or                   Contract in which
             lease is for and the nature of               Debtor provides certain
             the debtor's interest                        services relating to
                                                          marketing,
                                                          comminiations, and/or
                                                          branding.
                  State the term remaining                Terminates until             DSM i-Health, Inc.
                                                          services are concluded       Attn: Pres. or Gen Counsel
                                                          and the Debtor has           55 Sebeth Drive
                                                          received all monies.         Cromwell, CT 06416

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19             Entered 09/27/19 18:09:27               Main Document
                                                                                 Pg 44 of 47
 Debtor 1 Starworks, LLC                                                                         Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

             List the contract number of any
                   government contract


 2.5.        State what the contract or                   Water/ice machine
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Terminates on                  Sky Water
                                                          4/24/2020                      Attn: President or Gen Counsel
             List the contract number of any                                             8747 20th Avenue
                   government contract                                                   Brooklyn, NY 11214


 2.6.        State what the contract or                   Security system for LA
             lease is for and the nature of               office
             the debtor's interest

                  State the term remaining                Terminates on or about         Stanley Convergent Security
                                                          12/14/2019                     Solutions
             List the contract number of any                                             415 S. Lyon St.
                   government contract                                                   Santa Ana, CA 92701


 2.7.        State what the contract or                   Contract in which
             lease is for and the nature of               Debtor provides certain
             the debtor's interest                        services relating to
                                                          marketing,
                                                          comminiations, and/or
                                                          branding.
                  State the term remaining                Terminates on ro about         The Laundress, Inc.
                                                          12/31/2019                     Attn: Pres or Gen Counsel
             List the contract number of any                                             247 West 30th St, 7F
                   government contract                                                   New York, NY 10001




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19     Entered 09/27/19 18:09:27                Main Document
                                                                         Pg 45 of 47
 Fill in this information to identify the case:

 Debtor name         Starworks, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                          o    Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 o No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 n Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Avadel, LLC                       Attn: President or Gen. Counse                   Vice Holding, Inc.              nD        2.7
                                               5 Crosby Street, 6th Floor                                                       o E/F
                                               New York, NY 10013
                                                                                                                                oG




    2.2      James Grant                       463 Greenwich Street #1                          Vice Holding, Inc.              nD        2.7
                                               New York, NY 10013                                                               o E/F
                                                                                                                                oG



    2.3      James Grant                       463 Greenwich Street #1                          Chrome Capital LLC              nD        2.1
                                               New York, NY 10013                                                               o E/F
                                                                                                                                oG



    2.4      James Grant                       463 Greenwich Street #1                          Knight Capital                  nD        2.4
                                               New York, NY 10013                               Funding                         o E/F
                                                                                                                                oG



    2.5      James Grant                       463 Greenwich Street #1                          Chrome Capital LLC              nD        2.2
                                               New York, NY 10013                               (Bridge)                        o E/F
                                                                                                                                oG



Official Form 206H                                                        Schedule H: Your Codebtors                                         Page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19     Entered 09/27/19 18:09:27               Main Document
                                                                         Pg 46 of 47
 Debtor       Starworks, LLC                                                             Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      James Grant                       463 Greenwich Street #1                        Next Wave                  nD       2.5
                                               New York, NY 10013                             Enterprises                o E/F
                                                                                                                         oG



    2.7      James Grant                       463 Greenwich Street #1                        Fox Capital Group,         nD       2.3
                                               New York, NY 10013                             Inc.                       o E/F
                                                                                                                         oG



    2.8      James Grant                       463 Greenwich Street #1                        Union Funding              nD       2.6
                                               New York, NY 10013                             Source, Inc.               o E/F
                                                                                                                         oG



    2.9      James Grant                       463 Greenwich Street #1                        West Coast Business        nD       2.8
                                               New York, NY 10013                             Capital LL                 o E/F
                                                                                                                         oG



    2.10     Starworks Artists                 Attn: President or Gen Counsel                 Vice Holding, Inc.         nD       2.7
             LLC                               4525 Wilshire Blvd #150                                                   o E/F
                                               Los Angeles, CA 90010
                                                                                                                         oG




    2.11     Starworks Artists                 Attn: President or Gen Counsel                 Union Funding              nD       2.6
             LLC                               4525 Wilshire Blvd #150                        Source, Inc.               o E/F
                                               Los Angeles, CA 90010
                                                                                                                         oG




    2.12     Starworks Artists                 Attn: President or Gen Counsel                 West Coast Business        nD       2.8
             LLC                               4525 Wilshire Blvd #150                        Capital LL                 o E/F
                                               Los Angeles, CA 90010
                                                                                                                         oG




    2.13     Starworks                         Alexander Lawson Jacobs                        Vice Holding, Inc.         nD       2.7
             London Limited,                   1 Kings Avenue London N21 3NA                                             o E/F
             Ltd
                                                                                                                         oG


Official Form 206H                                                        Schedule H: Your Codebtors                                 Page 2 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
            19-13106-jlg                Doc 2          Filed 09/27/19     Entered 09/27/19 18:09:27               Main Document
                                                                         Pg 47 of 47
 Debtor       Starworks, LLC                                                             Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.14     Svetlana Vareljan                 463 Greenwich Street #1                        Vice Holding, Inc.         nD       2.7
                                               New York, NY 10013                                                        o E/F
                                                                                                                         oG



    2.15     Svetlana Vareljan                 463 Greenwich Street #1                        Chrome Capital LLC         nD       2.1
                                               New York, NY 10013                                                        o E/F
                                                                                                                         oG



    2.16     Svetlana Vareljan                 463 Greenwich Street #1                        Chrome Capital LLC         nD       2.2
                                               New York, NY 10013                             (Bridge)                   o E/F
                                                                                                                         oG




Official Form 206H                                                        Schedule H: Your Codebtors                                 Page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
